       Case 1:07-cr-00189-GZS          Document 419        Filed 05/06/08      Page 1 of 3




                            UNITED STATES DISTRICT COURT

                              DISTRICT OF NEW HAMPSHIRE




 UNITED STATES OF AMERICA


 v.                                                          Criminal No. 07-189-GZS


 DANIEL RILEY, JASON GERHARD and
 CIRINO GONZALEZ,

                    Defendants




                 ORDER DENYING DEFENDANT GONZALEZ’S
             MOTION TO RECONSIDER REQUEST FOR CONTINUANCE

       Defendant Gonzalez has filed a Motion to Continue Trial (Docket No. 403) and a Motion

to Clarify his Motion to Continue Trial (Docket No. 405). The stated basis for the first Motion to

Continue Trial was that “counsel is scheduled to start a jury trial in this court on June 3, 2008

(U.S. v. McFadden, et al.; 1:06-cr-226-02). Trial is expected to last two weeks. Counsel’s

schedule precludes a trial in these matters earlier than August.” Before the Court ruled on the

Motion to Continue, Defendant Gonzalez filed a Motion to Clarify Request for Continuance

elucidating two points: (1) that “trial in this matter should take no longer than four or five days”

and (2) “this counsel is scheduled to draw a jury on August 4, 2008 in a case that

should only take five days…[such that] [t]rial on or after the week of August 17, 2008 is

practicable considering everyone’s schedule.” Motion to Clarify his Motion to Continue Trial at

1. Thereafter, the Court granted the Motion to Clarify and denied the Motion to Continue.
        Case 1:07-cr-00189-GZS               Document 419            Filed 05/06/08         Page 2 of 3




          Defendant has now filed a Motion to Reconsider Request for Continuance. (Docket No.

415). In the instant Motion, Defendant states, in pertinent part:

        4. As indicated in the prior request, counsel is scheduled to select a jury in this
        Court on June 3, 2008 (U.S. v. McFadden, et al., 1:06-cr-226-02-PB). Trial is
        scheduled to commence on June 9, 2008 and 2 weeks has been reserved for trial.

        5. Due to this trial schedule, it would simply be impossible to select a jury on June
        18, 2008 and begin trial on June 23, 2008. Counsel could not adequately prepare
        in the time frames currently scheduled. Even assuming that the other matter is
        somehow resolved, counsel for the defendant still could not adequately prepare
        this case in the time frames currently scheduled.

        6. In addition, counsel has personal matters scheduled at the University of
        Maryland in the late June time frame.

        7. Additional time in which to prepare for trial is needed to afford the defendant
        effective assistance of counsel.

        In considering Defendant Gonzalez’s Motion, the Court has reflected on the fact that this

is a retrial of two Counts that counsel tried less than a month ago. In addition, the Court believes

that counsel has ample time to prepare to try the case in the almost two months between now and

the June 23, 2008 trial date. The Court notes that, other than his unavailability the week of

August 4, 2008 because he is scheduled for trial in another case, counsel has failed to provide, in

the three separate filings, any precise reason for continuing the trial until mid-August. 1 With

respect to the potential conflict between the trial in United States v. McFadden, 06-226 and jury

selection in this case, both cases are to be tried at the United States District Court in Concord

New Hampshire and the Court will deal with any scheduling issues that arise if jury selection

overlaps with the presentation of evidence or argument in United States v. McFadden, 06-226.




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  Because of the vagueness of counsel’s statement regarding “personal matters at the University of Maryland in the
late June time frame”, the Court is unable to consider that aspect of the Motion.


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       Case 1:07-cr-00189-GZS       Document 419        Filed 05/06/08   Page 3 of 3




       Accordingly, the Court ORDERS that Defendant Gonzalez’s Motion to Reconsider

Request for Continuance be, and it is hereby, DENIED.


                                                 /s/ George Z. Singal__________________
                                                 Chief United States District Judge


Dated this 6th day of May, 2008.




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